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                              IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                        CENTRAL DIVISION

JAMES M. RAPER, JR.                                                                                          PLAINTIFF
ADC #663449

V.                                      CASE NO. 4:22-cv-00153-LPR

LOUANNA ANDERSON,
Warren Lumberjacks Booster Club
Member; BRUCE ANDERSON, District
Judge, Bradley and Drew County                                                                           DEFENDANTS

                                                          ORDER

            Plaintiff James Raper, Jr., in custody in North Central Unit of the Arkansas Division of

    Correction, filed a pro se complaint alleging he is has been mistreated at the hands of Bradley

    County defendants.1 Based on the facts alleged and the addresses alleged for the Defendants

    named, it appears that venue properly lies in the United States District Court for the Western

    District of Arkansas.2 Accordingly, the Court finds that the interests of justice would best be

    served by transferring this case to the United States District Court for the Western District of

    Arkansas.3

           The Clerk of the Court is directed to immediately transfer Plaintiff’s entire case file to the

United States District Court for the Western District of Arkansas.

           IT IS SO ORDERED this 31st day of May, 2022.



                                                                    _______________________________
                                                                    LEE P. RUDOFSKY
                                                                    UNITED STATES DISTRICT JUDGE


1
    Complaint, Doc. 2.
2
    28 U.S.C. § 1391(b).
3
 28 U.S.C. § 1406(a) “The district court of a district in which is filed a case laying venue in the wrong division or
district shall dismiss, or if it be in the interest of justice, transfer such case to any district or division in which it could
have been brought.” Id.
